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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In re:                                     : Chapter 11
                                              :
   Museum of American Jewish History, d/b/a : Case No. 20-11285 (MDC)
   National Museum of American Jewish History :
                                              :
                  Debtor.                     :

  CERTIFICATION OF NO OBJECTION (NO ORDER REQUIRED) REGARDING LOCAL
RULE 2016-5 FIRST REQUEST FOR PAYMENT ON ACCOUNT FOR COMPENSATION AND
     REIMBURSEMENT OF EXPENSES OF DONLIN, RECANO & COMPANY, INC.,
  ADMINISTRATIVE ADVISOR FOR THE DEBTOR, FOR THE PERIOD MARCH 9, 2020
                          THROUGH MARCH 31, 2020

   I, Peter C. Hughes, of the law firm of Dilworth Paxson LLP (“Dilworth”), counsel to the Museum of

American Jewish History, d/b/a National Museum of American Jewish History (the “Debtor”), hereby

certify as follows:

   1.       On April 17, 2020, Donlin, Recano & Company, Inc. filed an Application pursuant to Local

Rule 2016-5 First Request for Payment on Account for Compensation and Reimbursement of Expenses

of Donlin, Recano & Company, Inc., Administrative Advisor for the Debtor, for the Period March 9,

2020 Through March 31, 2020 (the “Application”) (Docket No. 167).

   2.       Objections to the Application were due by May 1, 2020.

   3.       The time for response has now expired and no objection or other response has been filed.

   4.       In accordance with Local Bankruptcy Rule 2016-5(h), upon receipt of this certification, which

   indicates that no timely objections have been filed, the Debtor is authorized to pay Donlin, Recano &

   Company, Inc. eighty percent (80%) of the $3,112.40 requested in fees, or $2,489.92.

   5.       No Order of the Court is required for such payment to be made.




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 Dated:   May 5, 2020                     /s/ Peter C. Hughes
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